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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

UNITED STATES OF AMERICA

Vv.

* Crim. No. JKB-23-0056
BRANDON CLINT RUSSELL,

*

Defendant.
*

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ORDER

Earlier today, Tuesday, October 22, 2024, the Court held a hearing on the Government’s
Unopposed Motion for Continuance and Eighth Motion for Order Regarding Speedy Trial Status
(the “Motion to Continue”). (ECF No. 181.) For the reasons stated in open court, it is ORDERED
as follows:

1. The Motion to Continue (ECF No. 181) is GRANTED, as there is good cause to continue
the trial from November 12, 2024, to January 27, 2025.

2. Pursuant to 18 U.S.C. §§ 3161(c)(1) & 3161(h)(1)(D), the computation of the period of
time in which the Defendant must be tried began on March 22, 2023. The ends of justice
will be served by excluding the time from March 22, 2023, until January 27, 2025, in
calculating the time period within which the Defendant must be tried. These interests
outweigh the interest of the public in a speedy trial under the particular circumstances of
this case. Accordingly, pursuant to 18 U.S.C. § 3161(h)(7), the period of time between
March 22, 2023, and January 27, 2025, shall be EXCLUDED from the computation of time

within which the Defendant must be tried on the Indictment.
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3. The previous Scheduling Order (ECF No. 122, as amended by ECF No. 124) is VACATED,

and the Court now sets in the following new dates and deadlines:

November 5, 2024

November 12, 2024

January 3, 2025

January 3, 2025

January 7, 2025

January 13, 2025 at 1:30 p.m.

January 27, 2025, 9:30 a.m.

Deadline for the Government to file any Response to
the Defendant’s Motion in Limine (ECF No. 178)

Deadline for the Defendant to file any Reply in support
of his Motion in Limine (ECF No. 178)

Deadline for filing any further motions in limine.

Deadline for receipt in chambers of proposed voir dire,
proposed preliminary jury instructions (start of trial),
proposed final jury instructions (end of trial), and a
proposed jury verdict form; these are to be filed
electronically and must also be submitted via e-mail in
Microsoft Word format to chambers:
MDD_JKBChambers(@mdd.uscourts. gov.

Government and defense counsel shall meet and confer
with respect to proposed voir dire, jury instructions,
and a verdict form (the “jury materials”), and to the
fullest extent possible make joint submissions.
Counsel shall identify any matters of disagreement
through supplemental filings. The most recent revision
of the undersigned’s standard jury instructions in
criminal cases is available to the parties upon request
to chambers.

Alternatively, the parties may submit a joint filing
indicating that they adopt, without changes, the jury
materials filed on October 21, 2024. (ECF Nos. 184—
188.)

Deadline for responses to further motions in limine.

Pretrial Conference and Lafler Hearing, Courtroom
5A. The Defendant and all trial counsel must be
present.

Begin Jury Trial, Courtroom 5A. Counsel shall
appear in court at 9:15 a.m. to address miscellaneous
matters with the courtroom deputy clerk prior to the
commencement of jury selection. Trial is scheduled to
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conclude on or before February 7, 2025. The Court
may or may not sit on Fridays.

The Government is directed to prepare notices and “come up” letters as appropriate for the
in-court proceedings. No changes in the schedule set forth above will be permitted unless
authorized by the Court for good cause shown. Any such requests, either stipulated or ex parte,

must be made by motion and filed with the Clerk.

DATED this Z@ 2 day of October, 2024.

BY THE COURT:

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James K. Bredar
United States District Judge

